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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division




JOHN ALEXANDER, on behalf of himself and
all others similarly situated,
                                                    Case No. 21-cv-00018
               Plaintiff,

v.

GOOGLE LLC and ALPHABET INC.,

               Defendants.



                               CLASS ACTION COMPLAINT


        Plaintiff John Alexander, (hereinafter, “Plaintiff”) on behalf of himself and all others

similarly situated, brings this antitrust class action against Defendants Google LLC; and Alphabet

Inc. (collectively, “Google” or “Defendants”), and allege as follows:

                                   I.     INTRODUCTION

        1.     This class action arises out of Google’s unlawful conduct concerning its Google

Play Store. The Google Play Store was created by Google for the distribution and sale of mobile

applications (“apps”) and in-app purchases for us on Android smartphones and other mobile devices

utilizing the Android operating system. Google Play Store is available to mobile device users

running Google’s Android operating system (“OS”). While Google claims that the Android OS is

maintained as “open” source software, Google has engaged in a course of conduct designed to deter




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competition in the market for Android apps and products sold with such apps (“Android App

Market”).

        2.      Google has engaged in anticompetitive conduct through its distribution and pre-

installation agreements with Android phone manufacturers, to monopolize the market for apps and

in-app purchases.

        3.      Google’s monopolistic conduct is the subject of multiple government cases. The

Justice Department, along with the States of Arkansas, Florida, Georgia, Indiana, Kentucky,

Louisiana, Mississippi, Missouri, Montana, South Carolina, and Texas sued Google, on October

20, 2020, in the District of Columbia District Court. See Case 1:20-cv-03010. The complaint

details Google’s agreements with Android phone manufacturers, including Mobile Application

Distribution Agreements (“MADAs”), defined infra, and anti-forking agreements, which have

enabled Google to carry out its monopolistic scheme.

        4.      Google has also, more recently, been sued by thirty-eight states, in a related case

in the District of Columbia, based on its monopolistic conduct, including with respect to Android

phones. See Case 1:20-cv-03715-APM.

        5.      By this action, Plaintiff, on behalf of himself and other consumers throughout the

United States, seek monetary damages for economic losses suffered as a result of Google’s

unlawful conduct, injunctive relief enjoining Google from continuing its anticompetitive conduct,

and other relief.

                             II.    JURISDICTION AND VENUE

        6.      Plaintiff brings this action under Sections 4, 12, and 16 of the Clayton Act (15

U.S.C. §§ 15, 22, and 26) for treble damages, injunctive relief, other relief, and reasonable

attorneys’ fees and costs with respect to the injuries sustained by Plaintiff arising from violations




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by Defendants of the federal antitrust laws, including Section 2 of the Sherman Antitrust Act (15

U.S.C. § 2).

        7.      This Court has jurisdiction over this action pursuant to Sections 1331, 1337(a) and

1367 of Title 28 of the United States Code (28 U.S.C. §§ 1331, 1337(a) and 1367).

        8.      This Court has in personam jurisdiction over Defendants because each, directly

and/or through its ownership or control of subsidiaries: (a) transacted business in the United States,

including in this District; (b) had substantial aggregate contacts with the United States, including

this District; and/or (c) engaged in anticompetitive acts that were directed at, and had a direct,

substantial, and reasonably foreseeable and intended effect of injuring, the business or property of

persons and entities residing in, located in, or doing business throughout the United States,

including in this District. Defendants conduct business throughout the United States, including in

this District, and have purposefully availed themselves of the laws of the United States.

        9.      Venue is proper in this District pursuant to Sections 15 and 22 of Title 15 of the

United States Code (15 U.S.C. §§ 15 and 22) and Sections 1391(b) and (c) of Title 28 of the United

States Code (28 U.S.C. § 1391(b) and (c)) because a substantial portion of the affected interstate

trade and commerce was carried out in this District. Each Defendant has transacted business,

maintained substantial contacts, and/or committed overt acts in furtherance of the illegal restraint

of trade throughout this District. The anticompetitive conduct alleged herein has been directed at,

and has had the intended effect of, causing injury to persons residing in, located in, or doing

business in this District.

                                         III.    PARTIES




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       10.     Plaintiff John Alexander is a natural person who resides in the Commonwealth of

Virginia. Plaintiff Alexander purchased and paid Google for one or more apps through the Google

Play Store within the relevant statutory period.

       11.     Google LLC is a limited liability company organized under the laws of Delaware

with its principal place of business in Mountain View, California. Google LLC is a technology

company that provides internet-related services and products, including online advertising

technologies and a search engine.

       12.     Alphabet Inc. is a Delaware corporation and has its principal place of business in

Mountain View, California. Google LLC is a wholly-owned subsidiary of Alphabet Inc.

       13.     Google LLC and Alphabet Inc. are collectively referred to herein as “Google.”

                              IV.     FACTUAL ALLEGATIONS

       A.      History of Google

       14.     Google was officially launched in 1998 by Larry Page and Sergey Brin as a general

online search engine that served users web results in response to online queries. Google’s key

innovation was its PageRank algorithm, which ranked the relevance of a webpage by assessing

how many other webpages linked to it. PageRank proved to be the backbone of Google’s search

engine and enabled Google to improve the quality of its search results even as the web rapidly

grew in contrast with the technology used by rival search engines. While Google had entered a

crowded field, it had become the world’s largest search engine by 2000. Google launched

AdWords, an online advertising service that let businesses purchase keyword advertising to appear

on Google’s search results page—an offering that would evolve to became the heart of Google’s

business model—later that year.




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       15.     Google is now ubiquitous across the digital economy, serving as the infrastructure

for core products and services online. It has grown and maintained its search engine dominance,

such that “Googling” something is now synonymous with online search itself. Google is now also

the largest provider of digital advertising, a leading web browser, a dominant mobile operating

system, and a major provider of digital mapping, email, cloud computing, and voice assistant

services, alongside dozens of other offerings. Nine of Google’s products—Android, Chrome,

Gmail, Google Search, Google Drive, Google Maps, Google Photos, Google Play Store, and

YouTube—have more than a billion users each. Each of these services provides Google with a

trove of user data, reinforcing its dominance across markets and driving greater monetization

through online ads.

       16.     Google is one of the world’s largest corporations. For 2019, Google reported total

revenues of $160.7 billion—up 45% from 2017—and more than $33 billion in net income. Google

has enjoyed strong and steady profits, with profit margins greater than 20 percent for nine out of

the last 10 years, close to three times larger than the average for a U.S. firm. Financial analysts

predict that Google is well positioned to maintain its dominance, noting that “Alphabet has

established unusually deep competitive moats around its business.”

       B.      The Android App Market

       17.     In the late 1990s and early 2000s, when Google was formed, internet searches were

almost exclusively performed through browsers on computers. However, over the past two

decades, individuals increasingly used non-desktop devices to access the internet, such as phones

and other mobile devices. Thus, Google developed and launched a business policy to target users

of mobile devices and to ensure their products adopt versions of Google’s technology, products

and operating systems.




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       18.     Mobile applications (“apps”) are the most common way by which consumers use

their smart mobile devices. A mobile app is a type of software specifically designed for use on a

mobile device to provide access to digital content or services. Popular mobile apps allow users to

share content or play games and, importantly, permit “in app” sale or purchase transactions for

goods and services.

       19.     Mobile apps can be pre-installed on a mobile device as a component of the OS by

the Original Equipment Manufacturer (“OEM”), or otherwise loaded directly onto the mobile

device from the web using a web browser (a process that Google refers to as “sideloading”).

       20.     Consumers can access mobile apps in several ways. The dominant way that

consumers access mobile apps is through an app store, which itself may be preinstalled on the

mobile device. Google uses its Google Play Store to control the mobile app market for devices

using the Android OS.

       21.     An app store is the central point for users to access mobile apps. It centralizes and

curates the distribution of mobile apps in a convenient manner for users, and allows users to search,

review and buy a mobile app in one spot.

       22.     There is separate market for mobile apps specific to the OS, including apps

developed for Apple iOS and only work on Apple mobile devices and apps developed for Android

OS and only work on Android mobile devices. For the same reason, Apple’s App Store and the

Google Play Store do not compete against one another.

       23.     In order to establish dominance, Google released the Android mobile operating

system. Google released the Android code for free as “open source,” which means that anyone

could access the code and modify it. Modifying the operating system constitutes a “fork.”




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       24.     The open source aspect of the Android OS was key to its wide adoption by OEMs

(such as LG, Motorola, Samsung, etc.) and phone carriers (such as AT&T, T-Mobile/Spring,

Verizon, etc.). Google’s supposed lack of control over an open source OS led skeptical OEMs and

phone carriers to use Android instead of other choices then available. The open source model

suggested that the distributors, and not Google, would ultimately retain control over their devices

and the app ecosystem on those devices.

       25.     However, once the distributors agreed to use Android OS, app developers looking

for wide distribution of their apps were then incentivized by Google to develop apps compatible

with Android OS. As more apps became available on Android OS, the operating system became

more attractive to consumers which in turn led to even more developers designing for Android.

       26.     To achieve desired network effects and make the Android system ubiquitous,

Google then “shared” its search advertising and app store revenues with distributers to further

induce distributors to give up control over the OS and what apps come preinstalled on mobile

devices.

       27.     Google solidified market dominance of Android OS through a series of contracts

with distributors designed to minimize competition. Google requires OEMs such as LG, Motorola,

and Samsung to enter “anti-forking agreements.” These agreements specifically forbid OEMs from

developing or distributing versions of Android that do not comply with onerous Google-controlled

technical standards. The signatories may not distribute devices with Android forks, or us their

powerful brands to market forks on behalf of third parties. As a result of Google’s anticompetitive

practices, Android OS represents over 95 percent of licensable mobile operating systems for

smartphones and tablets in the United States.




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       28.     With control over the dominant Android OS, Google exercised its monopoly power

to establish the Google Play Store as the dominant “store” by which other applications can be

downloaded for use by consumers on the Android ecosystem. For devices that use the Android

OS, the dominant app store is the Google Play Store, which has approximately 2.56 million apps

available for download or purchase. Over 90 percent of apps downloaded or purchased from an

Android device come from the Google Play Store.

       29.     Google required that mobile device OEMs pre-install the Google Play Store on all

mobile devices, knowing that users rarely change defaults. Google also refuses to allow any rival

app store to be downloaded from the Google Play Store. Indeed, third-party app stores could only

be accessed by “sideloading,” a complicated multi-step process where users are warned that

sideloading is unsafe. Thus, while Google theoretically permits sideloading third-party app stores,

few users pursue this option because Google implements significant frictions designed to steer

consumers away from sideloading.

       30.     Google also limits basic app functions that are available to apps downloaded on the

Google Play Store, including making it more difficult for users to update apps (versus automatic

updates in the mobile device’s background).

       31.     Because the Google Play Store is the primary way users install applications on

Android devices, the Play Store effectively functions as a gatekeeper for software distribution on

all mobile devices with Android OS.

       32.     As a result of its monopolistic conduct, Google has extracted supracompetitive

prices for its Android app distribution services and in-app purchases made through the Google

Play Store, including a 30 percent commission on sales of paid apps and a 30 percent fee for in-




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app purchases. Google collects and processes these commissions and fees directly from Plaintiff

and Class Members, remitting the remainder of their payment to the mobile app developer.

       33.     Google uses its gatekeeping power over third-party app developers through

arbitrary and unaccountable enforcement of Play Store policies, which then protect the dominance

of Google’s own services and stifles rivals. For example, one mobile app “Callsome” was banned

from the Google Play store for “Ad Policy” violations only to learn later that an identical product

was able to stay and thrive in the Play Store. Callsome believes it was banned because of its

partnership with SmartApp, which at the time was widely considered to be a nascent but rising

rival to Google in the Russian market.

       C.      Google’s Willful Acquisition and Maintenance of its Monopoly in the Android

               App Market

       34.     Google maintains a monopoly in the Android App Market and is able to charge

supracompetitive prices for mobile app and in-app purchases. Google uses anticompetitive

covenants in Google’s Mobile Application Distribution Agreement (“MADA”), requiring OEMs

to license the entire suite of Google applications and services in order to also license the Android

OS. Google also requires OEMS to pre-install the Google Play Store on its home page. If OEM

refuse these restrictive terms and conditions, they lose access to the Android OS.

       35.     As a result of the MADA terms and conditions, Google has successfully prevented

competition from its rivals in the Android App Market. Google’s MADA agreements also allow

Google to charge supracompetitive prices for mobile app and in-app purchases, harming Plaintiff

and Class Members by limiting consumer choice.

       36.     Similarly, Google uses its Developer Distribution Agreement (“DDA”) to

contractually restrict competition in the Android App Market. Amongst other terms, the DDA




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mandated that developers comply with Google’s Developer Program Policies, including using

Google’s proprietary in-app billing for in-app game payments, as well as certain other digital in-

app purchases. The DDA also requires that developers “may not use Google Play to distribute or

make available any Product that has a purpose that facilitates the distribution of software

applications and games for use on Android devices outside of Google Play.” Google has the right

to remove any Android app it believes has violated any portion of the DDA.

                                 V.      ANTITRUST INJURY

       37.     Plaintiff and Class Members purchased Android mobile apps and in-app digital

content directly from Google through the Google Play Store. Without the unlawful restraints

described above, Plaintiff and Class Members would not have to pay supra competitive price for

mobile apps and in-app purchases. Google’s anticompetitive practices also stalled, limited or

foreclosed competition and innovation in the Android App Market.

                                VI.     MARKET DEFINITION

       38.     The relevant product market is the market for Android mobile apps and in-app

purchases. The relevant geographic market for purposes for this action is the United States and its

territories. Google has significant and durable power in this market, app stores and mobile apps

are developed and distributed throughout the United States, and Google’s Play Store is available

to Android users throughout the United States.

                    VII.    TOLLING OF STATUTE OF LIMITATIONS

       39.     Plaintiff and Class members had no knowledge of Google’s anticompetitive

conduct, or of facts sufficient to place them on inquiry notice of the claims asserted herein, during

the Class period and continuing thereafter, until October 2020 when the United States House of




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Representatives published its Investigation of Competition in Digital Markets and provided details

concerning Google and its conduct.

       40.     Plaintiff and Class members suffered economic loss due to Google’s wrongful

exercise of monopoly power. Plaintiff’s interactions with Google were insufficient, however, to

discover Google’s wrongful conduct.

       41.     Furthermore, no public information was available during the Class period or

thereafter that suggests Google’s business activities were done to monopolize the Android App

Market until the House published the Report of its investigation against Google.

       42.     Moreover, it was reasonable for Plaintiff and Class members not to suspect that

Defendants were engaging in any unlawful anticompetitive behavior. Plaintiff and class members

are merely consumers of apps and were not active participants in the market.

       43.     Plaintiff alleges a continuing course of unlawful conduct by Google, including

conduct within the applicable limitation periods. That conduct has inflicted continuing and

accumulating harm within the applicable statutes of limitation.

       44.     For these reasons, the statutes of limitations applicable to Plaintiff’s and Class

members’ claims have been tolled with respect to the claims asserted herein until the House Report

about Google became public.

       45.     Additionally, or alternatively, application of the doctrine of fraudulent concealment

tolled the statutes of limitations on Plaintiff’s claims. Plaintiff and Class members had no

knowledge of Google’s wrongful acquisition and maintenance of monopoly power in the relevant

market, or of facts sufficient to place them on inquiry notice of their claims, during the Class period

and continuing thereafter. No information in the public domain or otherwise available to Plaintiff




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and Class members during the Class period suggested that Google had wrongfully acquired a

monopoly or was using its monopoly power to charge supra-competitive prices.

       46.     In failing to disclose its wrongful monopolization, in addition to denying it was

engaged in such conduct, Google was able to conceal its illicit conduct. In fact, Google has made

public denials to this effect in the United States and to foreign regulators.

       47.     After it was revealed that the House was investigating Google’s monopoly, Google

denied such conduct. Similarly, in response to recent news reports of impending antitrust actions

against it by federal and state officials for monopolization, Google stated publicly that competition

is flourishing, and publishers and marketers have enormous choice when that was plainly incorrect.

       48.     Further, Google’s anticompetitive monopoly conduct was inherently self-

concealing because, as Google knew, its disclosure likely would have led to governmental

enforcement activity or civil liability. Google’s conduct is subject to antitrust regulation, so it was

reasonable for Plaintiff and Class members to presume that it was purchasing apps in a competitive

market. A reasonable person under the circumstances would not have had occasion to suspect that

apps were being sold at supra-competitive prices at any time during the Class period.

                           VIII. CLASS ACTION ALLEGATIONS

       49.     Plaintiff brings this action both on behalf of himself and as a class action pursuant

to Federal Rule of Civil Procedure 23(b)(2) and (b)(3) on behalf of the following Class:

               All persons and entities in the United States that made payment to
               Google for a mobile app on the Google Play Store, subscription fees
               for a mobile app obtained on the Google Play Store, or app content
               from a mobile app downloaded from the Google App Store, from at
               least as early as January 1, 2016 through the present (“Class
               Period”).

       50.     This definition specifically excludes any of the Defendants named herein, any of

the Defendants’ parent companies, subsidiaries, and affiliates, and any of the Defendants’ officers,



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directors, management, employees, subsidiaries, affiliates or agents. Plaintiff reserves the right to

expand, modify, or alter the class definition in response to information learned during discovery.

       51.     This action is properly brought as a class action under Federal Rule of Civil

Procedure 23(a) for the following reasons:

               a.      Numerosity (Fed. R. Civ. P. 23(a)(1)): The proposed Class is so numerous

                       and geographically dispersed that the joinder of all Class Members is

                       impracticable. While Plaintiff does not know the exact number and identity

                       of all Class Members, Plaintiff is informed and believe that there are

                       millions of Class Members. The precise number of Class Members can be

                       ascertained through discovery;

               b.      Commonality and Predominance (Fed. R. Civ. P. 23(a)(2) and

                       23(b)(3)): There are questions of law and fact common to the proposed class

                       which predominate over any questions that may affect particular Class

                       Members. Such common questions of law and fact include, but are not

                       limited to:

                       i.      Whether Defendants monopolized the market for Android Mobile

                               Apps at any time during the Class Period;

                       ii.     Whether Google unlawfully acquired and maintained monopoly

                               power in the relevant market;

                       iii.    Whether Plaintiff and the other members of the Class were injured

                               by Defendants’ conduct and, if so, the determination of the

                               appropriate Class-wide measure of damages;




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                      iv.    Whether Plaintiff and other members of the Class are entitled to,

                             among other things, injunctive relief, and, if so, the nature and extent

                             of such relief;

                      v.     Whether the alleged conspiracy violated the Sherman Act;

                      vi.    Whether Plaintiff and members of the Class had any reason to know

                             or suspect the conspiracy, or any means to discover the conspiracy;

                             and

                      vii.   Whether the Defendants and their co-conspirators fraudulently

                             concealed the conspiracy’s existence from Plaintiff and the

                             members of the Class.

              c.      Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiff’s claims are typical of the

                      claims of the members of the proposed Class. Plaintiff and the Class have

                      been injured by the same wrongful practices of Defendants. Plaintiff’s

                      claims arise from the same practices and conduct that give rise to the claims

                      of the Class and are based on the same legal theories; and

              d.      Adequacy of Representation (Fed. R. Civ. P. 23(a)(4)): Plaintiff will

                      fairly and adequately protect the interests of the Class in that he has no

                      interests antagonistic to those of the other members of the Class, and

                      Plaintiff has retained attorneys experienced in antitrust class actions and

                      complex litigation as counsel.

       52.    This action is properly brought as a class action under Federal Rule of Civil

Procedure 23(b) for the following reasons:




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               a.      Declaratory and Injunctive Relief (Fed. R. C. P. 23(b)(2)): Certification

                       under Rule 23(b)(2) is warranted because Defendants acted or refused to act

                       on grounds generally applicable to the Class, thereby making appropriate

                       final injunctive, declaratory, or other appropriate equitable relief with

                       respect to the Class as a whole.

               b.      Superiority (Fed. R. Civ. P. 23(b)(3)): Certification under Rule 23(b)(3)

                       is appropriate because questions of law or fact common to members of the

                       Class predominate over any questions affecting only individual members,

                       and class action treatment is superior to the other available methods for the

                       fair and efficient adjudication of this controversy.

               c.      The proposed Class is ascertainable and there is a well-defined community

                       of interest in the questions of law or fact alleged herein since the rights of

                       each proposed Class Member were infringed or violated in the same

                       fashion.

       53.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy for at least the following reasons:

               a.      Given the size of individual Class Members’ claims and the expense of

                       litigating those claims, few, if any, Class Members could afford to or would

                       seek legal redress individually for the wrongs Defendants committed

                       against them and absent Class Members have no substantial interest in

                       individually controlling the prosecution of individual actions;




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                b.        This action will promote an orderly and expeditious administration and

                          adjudication of the proposed Class claims, economies of time, effort and

                          resources will be fostered, and uniformity of decisions will be insured;

                c.        Without a class action, Class Members will suffer damages, and

                          Defendant’s violations of law will proceed without remedy while

                          Defendants reaped and retained the substantial proceeds of their wrongful

                          conduct; and

                d.        Plaintiff knows of no difficulty that will be encountered in the management

                          of this litigation which would preclude its maintenance as a class action.

                                    IX.     CAUSES OF ACTION

                              FIRST CAUSE OF ACTION
     Violation of Sherman Act – Unlawful Monopoly and/or Maintenance of Monopoly
                                     (15 U.S.C. § 2)
                                 (Against all Defendants)


        54.     Plaintiff hereby repeats and incorporates by reference each preceding paragraph as

if fully stated herein.

        55.     Plaintiff brings this claim on his own behalf and on behalf of each member of the

Class described above.

        56.     The relevant market is the U.S. market for mobile apps and in-app purchases sold

in the Android App Market.

        57.     Google has gained and maintains monopoly power in the relevant market by

improper and unlawful means. More specifically, Google has willfully acquired and maintained

such power by coercing the purchase of Android Mobile Apps and in-app products and services at

artificial prices and by its patently exclusionary conduct, including its refusal to allow rival app

stores to be accessed through the Google Play Store and implementing significant frictions


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designed to steer consumers away from sideloading third-party app stores. Consumers must use

the Android App Market to obtain Android mobile apps and in-app purchases.

       58.     For the reasons stated herein, substantial barriers to entry exist in the relevant

market.

       59.     Google has the power to exclude competition in the relevant market, and it has used

that power, including by way of its unlawful practices in restraint of trade as described herein, to

maintain and expand its monopoly power in that market.

       60.     Google’s conduct as described herein, including its unlawful practices in restraint

of trade, is exclusionary vis-à-vis its rival app stores in the U.S. market for Android mobile apps

and in-app purchases.

       61.     Google has behaved as alleged herein in an attempt to obtain a monopoly in the

U.S. market for Android mobile apps and in-app purchases, with the effect being that competition

is foreclosed, innovation is stifled, and consumer choice is gravely diminished. Additionally,

Google has abused its market power by charging supra-competitive 30 percent commission on

sales of paid apps and a 30 percent fee for in-app purchases. Further, Google’s actions have

depressed output and stifled innovation and options for consumers as alleged herein.

       62.     There is no business necessity or other pro-competitive justification for Google’s

conduct.

       63.     As a direct and proximate cause of Google’s conduct, Plaintiff and members of the

Class have suffered antitrust injury. Plaintiff and the Class members paid significantly higher

prices for Android mobile apps and in-app purchases than they would have but for Google’s

unlawful conduct. That conduct also deprived Plaintiff and Class members of improved quality

and innovation in the relevant markets.




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        64.     Plaintiff is inclined to continue to purchase Android mobile apps and in-app

purchases in the future because of his investment in the mobile device containing the Android OS.

        65.     Plaintiff and members of the Class are entitled to damages, including treble

damages, sustained because of Google’s monopolistic acts and practices.

        66.     Plaintiff and members of the Class are entitled to equitable relief as appropriate to

cure Google’s monopoly conduct and restore competition in the relevant market. Members of the

Class are regular users of the Android App Market and will continue to purchase such apps and

in-app products and services and suffer further injury if Google’s monopoly is not ended.

        67.     Plaintiff and the Class also are entitled to injunctive relief to prevent Google from

persisting in its unlawful, inequitable, and unjustified behavior to their detriment, with such an

injunction at a minimum prohibiting Google from continuing to: charge supra-competitive

commission on sales of paid apps and a supra-competitive percent fee for in-app purchases. See,

e.g., 15 U.S.C. § 26.

                                 SECOND CAUSE OF ACTION
                     Violation of Sherman Act – Attempted Monopolization
                                        (15 U.S.C. § 2)
                                    (Against all Defendants)


        68.     Plaintiff hereby repeats and incorporates by reference each preceding paragraph as

if fully stated herein.

        69.     Plaintiff brings this claim on his own behalf and on behalf of each member of the

Class described above.

        70.     The relevant market is the U.S. market for mobile apps and in-app purchases sold

in the Android App Market.

        71.     Google has attempted to monopolize the U.S. market for Android mobile apps.

More specifically, Google has willfully acquired and maintained market power by its patently


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exclusionary conduct, including its refusal to allow rival app stores to be accessed through the

Google Play Store and implementing significant frictions designed to steer consumers away from

sideloading third-party app stores. Consumers must use the Android App Market to obtain Android

mobile apps and in-app purchases.

       72.     Google’s anticompetitive conduct has created a dangerous probability that it will

achieve monopoly power in the U.S. market for Android mobile apps and in-app purchases.

       73.     Google has a specific intent to achieve monopoly power in the U.S. market for

Android mobile apps and in-app purchases. Now, and if its unlawful restraints are not checked,

Google has a dangerous probably of success in the relevant market as defined by the Plaintiff.

       74.     Google has the power to exclude competition in the U.S. market for Android mobile

apps and in-app purchases, and it has used that power, including by way of its unlawful practices

in restraint of trade as described herein, in an attempt to monopolize that relevant market.

       75.     Google’s conduct as described herein, including its unlawful practices in restraint

of trade, is exclusionary vis-à-vis its rival app stores in the U.S. market for Android mobile apps

and in-app purchases.

       76.     Google has behaved as alleged herein in an attempt to obtain a monopoly in the

U.S. market for Android mobile apps and in-app purchases, with the effect being that competition

is foreclosed, innovation is stifled, and consumer choice is gravely diminished. Additionally,

Google has abused its market power by charging supra-competitive 30 percent commission on

sales of paid apps and a 30 percent fee for in-app purchases. Further, Google’s actions have

depressed output and stifled innovation and options for consumers as alleged herein.

       77.     There is no business necessity or other pro-competitive justification for Google’s

conduct.




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       78.     Plaintiff and the Class have been injured, and will continue to be injured, in their

property as a result of Google’s conduct, including by way of overpaying for Android mobile apps

and in-app purchases.

       79.     Plaintiff is inclined to continue to purchase Android mobile apps and in-app

purchases in the future because of his investment in the mobile device containing the Android OS.

       80.     Plaintiff and the Class also are entitled to injunctive relief to prevent Google from

persisting in its unlawful, inequitable, and unjustified behavior to their detriment, with such an

injunction at a minimum prohibiting Google from continuing to: charge supra-competitive

commission on sales of paid apps and a supra-competitive percent fee for in-app purchases. See,

e.g., 15 U.S.C. § 26.

                                X.      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment on his behalf and on behalf

of the Class defined herein, by adjudging and decreeing:

       81.     That this action may be maintained as a class action under Federal Rule of Civil

Procedure 23(b)(2), (b)(3), and (c)(4) that Plaintiff be certified as Class representative, and

Plaintiff’s counsel be appointed as counsel for the Class;

       82.     That the unlawful contract, combination, or conspiracy alleged be adjudged and

decreed to be an unreasonable restraint of trade or commerce in violation of Section 2 of the

Sherman Act;

       83.     That Plaintiff and the Class have been injured in their business and property as a

result of Defendants’ violations;




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        84.     That Plaintiff and the Class recover damages, as provided by law, determined to

have been sustained as to each of them, in an amount to be trebled in accordance with the antitrust

laws, and that judgment be entered against Defendants on behalf of Plaintiff and the Class;

        85.     Plaintiff and the Class recover their costs of suit, including reasonable attorneys’

fees, costs, and expenses of the lawsuit, as provided by law;

        86.     That Defendants, their subsidiaries, affiliates, successors, transferees, assignees and

the respective officers, directors, partners, agents, and employees thereof and all other persons

acting or claiming to act on their behalf be permanently enjoined and restrained from continuing

and maintaining the combination, conspiracy, or agreement alleged herein;

        87.     That Plaintiff and the Class be awarded pre-judgment and post-judgment interest,

and that such interest be awarded at the highest legal rate from and after the date of service of the

initial complaint in this action;

        88.     That Plaintiff and the Class are entitled to equitable relief appropriate to remedy

Defendants’ past and ongoing restraint of trade, including:

                i.      A judicial determination declaring the rights of Plaintiff and the Class, and

                        the corresponding responsibilities of Defendants; and

                ii.     Issuance of a permanent injunction against Defendants and their parents,

                        subsidiaries, affiliates, successors, transferees, assignees and the Respective

                        officers, directors, partners, agents, and employees thereof and all other

                        persons acting or claiming to act on their behalf from violations of the law

                        as alleged herein.




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        89.     That Defendants are to be jointly and severally responsible financially for the costs

and expenses of a Court-approved notice program through post and media designed to give

immediate notification to the Class; and

        90.     For such other and further relief as is just under the circumstances.

                              XI.     DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff and the Class demand a trial

by jury of all the claims asserted in this complaint that are so triable.


  Dated: January 8, 2021                               Respectfully submitted,

                                                       TOSTRUD LAW GROUP, P.C.

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